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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                   Eastern District of Virginia
 In re          Mary D Slaey                                                                               Case No.     13-10541
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                       11




                                                              SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                 3,168,391.50


B - Personal Property                                     Yes             3                   12,651.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             3                                      4,471,737.51


E - Creditors Holding Unsecured                           Yes             1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             5                                      2,681,161.53
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       20,456.66
    Debtor(s)

J - Current Expenditures of Individual                    Yes             1                                                                       20,612.12
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                18


                                                                    Total Assets            3,181,042.50


                                                                                     Total Liabilities           7,152,899.04




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                   Eastern District of Virginia
 In re           Mary D Slaey                                                                                    Case No.   13-10541
                                                                                                         ,
                                                                                       Debtor
                                                                                                                 Chapter                   11


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                   0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                              0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                              0.00

             Student Loan Obligations (from Schedule F)                                                       0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                              0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                              0.00

                                                                            TOTAL                             0.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                   20,456.66

             Average Expenses (from Schedule J, Line 18)                                                 20,612.12

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                    22,755.00


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                               1,441,259.12

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                              0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                          2,681,161.53

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                      4,122,420.65




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B6A (Official Form 6A) (12/07)


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 In re         Mary D Slaey                                                                                  Case No.      13-10541
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

409 Cynthia Lane, NE                                                                                 -                   498,240.00               354,755.29
Vienna, VA 22180

4924 Lippingham Road                                                                                 -                         0.00                 84,875.40
Chester, VA 23831

2653 Park Tower Drive, #102                                                                          -                   328,780.00               389,975.48
Vienna, VA 22180

3064 McKinnon Way                                                                                    J                   272,195.00               381,359.54
Oakton, VA 22124

815 Porter Street, #310                                                                              J                    65,000.00               136,543.23
Richmond, VA 23224

402 Roland Street                                                                                    J                   123,000.00               119,571.60
Vienna, VA 22180

11195 Gunston Road                                                                                   J                  1,640,425.00           2,292,977.44
Lorton, VA 22079

Cedar Key Lot, Milton, Florida                                                                       -                    60,686.00               289,731.00

Bayside Lot, Milton, Florida                                                                         -                    31,275.50               112,636.00

2720 Bellforest Ct #108                                                                              J                   148,790.00               297,000.00
Vienna, VA 22180




                                                                                                 Sub-Total >        3,168,391.50           (Total of this page)

                                                                                                         Total >    3,168,391.50
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Mary D Slaey                                                                                      Case No.       13-10541
                                                                                                     ,
                                                                                    Debtor

                                                   SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial            X
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household furnishings: sofa, chairs, coffee table, 2              -                          2,000.00
      including audio, video, and                         beds, tv, dining table, chairs and cabinet.
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothes                                                           -                          1,000.00

7.    Furs and jewelry.                                   Watch, ring                                                       -                             200.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    State Farm                                                        -                             450.00
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >              3,650.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Mary D Slaey                                                                                      Case No.       13-10541
                                                                                                     ,
                                                                                    Debtor

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   Systems Integration and Management Corp                           -                                1.00
    and unincorporated businesses.                        (in bankruptcy)
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >                    1.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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 In re         Mary D Slaey                                                                                      Case No.        13-10541
                                                                                                     ,
                                                                                    Debtor

                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2008 Jeep Grand Cherokee                                           -                       9,000.00
    other vehicles and accessories.
                                                          2004 Chevy Sedan                                                   J                             0.00
                                                          Daughter's car

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >            9,000.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         12,651.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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  In re         Mary D Slaey                                                                                          Case No.           13-10541
                                                                                                          ,
                                                                                        Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                        Value of                 Current Value of
                  Description of Property                                          Each Exemption                            Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Real Property
409 Cynthia Lane, NE                                                      Va. Code Ann. § 34-4                                      5,000.00                      498,240.00
Vienna, VA 22180

4924 Lippingham Road                                                      Va. Code Ann. § 34-4                                            0.00                             0.00
Chester, VA 23831

2653 Park Tower Drive, #102                                               Va. Code Ann. § 34-4                                            0.00                    328,780.00
Vienna, VA 22180

3064 McKinnon Way                                                         Va. Code Ann. § 34-4                                            0.00                    272,195.00
Oakton, VA 22124

815 Porter Street, #310                                                   Va. Code Ann. § 34-4                                            0.00                     65,000.00
Richmond, VA 23224

402 Roland Street                                                         Va. Code Ann. § 34-4                                            0.00                    123,000.00
Vienna, VA 22180

11195 Gunston Road                                                        Va. Code Ann. § 34-4                                            0.00                 1,640,425.00
Lorton, VA 22079

Cedar Key Lot, Milton, Florida                                            Va. Code Ann. § 34-4                                            0.00                     60,686.00

Household Goods and Furnishings
Household furnishings: sofa, chairs, coffee table, 2                      Va. Code Ann. § 34-26(4a)                                 2,000.00                         2,000.00
beds, tv, dining table, chairs and cabinet.

Wearing Apparel
Clothes                                                                   Va. Code Ann. § 34-26(4)                                  1,000.00                         1,000.00

Stock and Interests in Businesses
Systems Integration and Management Corp                                   Va. Code Ann. § 34-4                                            1.00                             1.00
(in bankruptcy)

Automobiles, Trucks, Trailers, and Other Vehicles
2008 Jeep Grand Cherokee                                                  Va. Code Ann. § 34-26(8)                                        0.00                       9,000.00

2004 Chevy Sedan                                                          Va. Code Ann. § 34-26(8)                                  3,100.00                               0.00
Daughter's car




                                                                                                          Total:                  11,101.00                    3,000,327.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re         Mary D Slaey                                                                                               Case No.      13-10541
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W            NATURE OF LIEN, AND                           I    Q   U                            PORTION, IF
                                                        T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C               OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. 9931                                                Mortgage                                                    E
                                                                                                                            D

Bank of America, N.A.                                           409 Cynthia Lane, NE
Customer Service                                                Vienna, VA 22180
P.O. Box 5170
                                                            -
Simi Valley, CA 93062-5170

                                                                Value $                               498,240.00                        354,755.29                         0.00
Account No. 1902                                                Mortgage

BankSouth                                                       Cedar Key Lot, Milton, Florida
7911 Macon Hwy
Watkinsville, GA 30677
                                                            -

                                                                Value $                                60,686.00                        289,731.00               229,045.00
Account No. 0401                                                Bayside Lot, Milton, Florida

BankSouth
7911 Macon Hwy
Watkinsville, GA 30677
                                                            -

                                                                Value $                                31,275.50                        112,636.00                 81,360.50
Account No. 5250                                                Mortgage

Chase                                                           11195 Gunston Road
PO Box 24696                                                    Lorton, VA 22079
Columbus, OH 43224-0696
                                                            -

                                                                Value $                          1,640,425.00                          2,292,977.44              652,552.44
                                                                                                                    Subtotal
 2
_____ continuation sheets attached                                                                                                     3,050,099.73              962,957.94
                                                                                                           (Total of this page)




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  In re         Mary D Slaey                                                                                               Case No.     13-10541
                                                                                                              ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                        PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                       I    Q   U
                                                                                                                                       DEDUCTING
                                                        T   J                                                          N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                            G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No.                                                     Mortgage                                                    E
                                                                                                                            D

Ed Lippert                                                      402 Roland Street
Private Loan                                                    Vienna, VA 22180

                                                            -

                                                                Value $                               123,000.00                        119,571.60                   0.00
Account No. 6015                                                Mortgage

GMAC Mortgage                                                   4924 Lippingham Road
PO Box 4622                                                     Chester, VA 23831
Waterloo, IA 50704-4622
                                                            -

                                                                Value $                                     0.00                         84,875.40           84,875.40
Account No. 5398                                                Mortgage

GMAC Mortgage                                                   2653 Park Tower Drive, #102
PO Box 4622                                                     Vienna, VA 22180
Waterloo, IA 50704-4622
                                                            -

                                                                Value $                               328,780.00                        389,975.48           61,195.48
Account No. 0718                                                Mortgage

Ocwen Loan Servicing                                            3064 McKinnon Way
P.O. Box 24738                                                  Oakton, VA 22124
West Palm Beach, FL 33416
                                                            -

                                                                Value $                               272,195.00                        381,359.54         109,164.54
Account No. 2183                                                Car Lien

Santander Consumer                                              2008 Jeep Grand Cherokee
P.O. Box 961245
Fort Worth, TX 76161-1245
                                                        X -

                                                                Value $                                 9,000.00                         12,312.53             3,312.53
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                               Subtotal
                                                                                                                                        988,094.55         258,547.95
Schedule of Creditors Holding Secured Claims                                                               (Total of this page)




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  In re         Mary D Slaey                                                                                               Case No.      13-10541
                                                                                                              ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT         UNSECURED
                                                            W               NATURE OF LIEN, AND                                                         PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                       I    Q   U
                                                                                                                                       DEDUCTING
                                                        T   J                                                          N    U   T                          ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                            G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No.                                                     Mortgage                                                    E
                                                                                                                            D

Travis Ebert                                                    2720 Bellforest Ct #108
4924 Lippingham Rd.                                             Vienna, VA 22180
Chester, VA 23831
                                                            -

                                                                Value $                               148,790.00                        297,000.00          148,210.00
Account No. 2895                                                Mortgage

Wells Fargo Home Mortgage                                       815 Porter Street, #310
P.O. Box 14411                                                  Richmond, VA 23224
Des Moines, IA 50306-3411
                                                            -

                                                                Value $                                65,000.00                        136,543.23            71,543.23
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
       2
Sheet _____    2
            of _____  continuation sheets attached to                                                               Subtotal
                                                                                                                                        433,543.23          219,753.23
Schedule of Creditors Holding Secured Claims                                                               (Total of this page)
                                                                                                                     Total             4,471,737.51       1,441,259.12
                                                                                           (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/10)


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 In re         Mary D Slaey                                                                                                       Case No.            13-10541
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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  In re         Mary D Slaey                                                                                             Case No.         13-10541
                                                                                                               ,
                                                                                             Debtor


              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                   Legal SIM                                                     T   T
                                                                                                                                                E
                                                                                                                                                D

Arnold & Porter
c/o Stuart Turner, Esq.                                                   -
555 Twelfth St., NW
Washington, DC 20004-1206
                                                                                                                                                                   575,000.00
Account No. 0401

Bank of the South
P.O. Box 3229                                                             -
Pensacola, FL 32516-3229

                                                                                                                                                                     42,137.70
Account No. 1902

Bank of the South
P.O. Box 3229                                                             -
Pensacola, FL 32516-3229

                                                                                                                                                                   105,000.00
Account No. 4255

Chase
PO Box 15298                                                              -
Wilmington, DE 19850

                                                                                                                                                                       3,384.18

                                                                                                                                        Subtotal
 4
_____ continuation sheets attached                                                                                                                                 725,521.88
                                                                                                                              (Total of this page)




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  In re         Mary D Slaey                                                                                       Case No.     13-10541
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Legal SIM                                               E
                                                                                                                                      D

Daniel Krisky
10521 Judicial Dr.                                                        -                                                               X
Fairfax, VA 22030

                                                                                                                                                         14,000.00
Account No.

Exxon Credit Card
PO Box 688938                                                             -
Des Moines, IA 50368-8938

                                                                                                                                                           1,662.55
Account No. 4624

ML Visa
PO Box 15289                                                              -
Wilmington, DE 19886-5289

                                                                                                                                                           4,957.31
Account No.                                                                   Legal SIM

P.H. Harrington, Jr.
4160 Chain Bridge Rd.                                                     -                                                               X
Fairfax, VA 22030-4114

                                                                                                                                                       115,000.00
Account No.                                                                   Legal/Other

PHH
3000 Leadenhall Rd.                                                       -                                                               X
Mount Laurel, NJ 08054

                                                                                                                                                       235,000.00

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                       370,619.86
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Mary D Slaey                                                                                       Case No.     13-10541
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
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Account No. 6929                                                                                                                      E
                                                                                                                                      D

PNC Bank
PO Box 94982                                                              -
Cleveland, OH 44101

                                                                                                                                                           4,693.44
Account No.                                                                   Sub Tenant SIM

Realty Associates
c/o Freidlander Misler, PLLC                                              -
1101 17th St NW Ste 700
Washington, DC 20036
                                                                                                                                                         55,000.00
Account No. 1388

Target Visa
PO Box 660170                                                             -
Dallas, TX 75266-0170

                                                                                                                                                           6,346.23
Account No.                                                                   Legal SIM

The Henry Firm
1500 Walnut St.                                                           -                                                       X X
Philadelphia, PA 19102

                                                                                                                                                         15,000.00
Account No. 5243

TJX Corp.
770 Cochituate Rd.                                                        -
Framingham, MA 01701

                                                                                                                                                           1,580.12

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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                         82,619.79
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Mary D Slaey                                                                                       Case No.     13-10541
                                                                                                               ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
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Account No.                                                                                                                           E
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Travis Ebert
4924 Lippingham Rd.                                                       -
Chester, VA 23831

                                                                                                                                                       165,000.00
Account No.

U.S. Attorney's Office
615 Chestnut St.                                                          -                                                               X
Suite 1250
Philadelphia, PA 19106-4476
                                                                                                                                                       525,000.00
Account No.

Vaira & Riley Law Firm
Mr. Jack Gruenstein                                                       -                                                               X
1600 Market St.
Philadelphia, PA 19103
                                                                                                                                                       149,000.00
Account No.                                                                   Legal SIM

William B. Cummings
111 S. Fairfax St., 2nd Floor                                             -
Alexandria, VA 22314

                                                                                                                                                         89,000.00
Account No.                                                                   Loan to pay taxes

William Mountjoy
11195 Gunston Rd.                                                         -
Lorton, VA 22079

                                                                                                                                                         52,000.00

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                       980,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Mary D Slaey                                                                                             Case No.      13-10541
                                                                                                                ,
                                                                                             Debtor

              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
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Account No.                                                                   Notes.                                                         E
                                                                                                                                             D

William Mountjoy
11195 Gunston Rd.                                                         -
Lorton, VA 22079

                                                                                                                                                              522,400.00
Account No.




Account No.




Account No.




Account No.




           4
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                              522,400.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)             2,681,161.53


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 In re             Mary D Slaey                                                                                Case No.        13-10541
                                                                                                     ,
                                                                                   Debtor

                       SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Brian and Jackie O'Connor                                           Tenant of 409 Cynthia Lane, Vienna, VA 22180

                    Elizabeth Maikisch                                                  Tenant of 2653 Park Tower Dr. #102, Vienna, VA
                                                                                        22180

                    Stephen & Tammy Whiting                                             Tenant of 3064 McKinnon Way, Oakton, VA




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                                                   Document     Page 18 of 31
B6H (Official Form 6H) (12/07)


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 In re          Mary D Slaey                                                                            Case No.       13-10541
                                                                                              ,
                                                                               Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR

                 Shelley Slaey                                                    Santander Consumer
                 11195 Gunston Rd.                                                P.O. Box 961245
                 Lorton, VA 22079                                                 Fort Worth, TX 76161-1245

                 William Mountjoy
                 11195 Gunston Rd.
                 Lorton, VA 22079




      0
              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
 In re    Mary D Slaey                                                                                 Case No.       13-10541
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 Daughter                                                    32

Employment:                                          DEBTOR                                                        SPOUSE
Occupation                           IT
Name of Employer                     The Centech Group, Inc.
How long employed
Address of Employer                6402 Arlington Boulevard, 10th Floor
                                   Falls Church, VA 22042
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $      14,374.75         $            N/A
2. Estimate monthly overtime                                                                             $           0.00         $            N/A

3. SUBTOTAL                                                                                              $      14,374.75         $             N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $        1,308.69        $             N/A
     b. Insurance                                                                                        $            0.00        $             N/A
     c. Union dues                                                                                       $            0.00        $             N/A
     d. Other (Specify):       FICA                                                                      $          209.21        $             N/A
                               VA Taxes                                                                  $          781.19        $             N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $        2,299.09        $             N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $      12,075.66         $             N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $            0.00        $             N/A
8. Income from real property                                                                             $        8,381.00        $             N/A
9. Interest and dividends                                                                                $            0.00        $             N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             N/A
                                                                                                         $             0.00       $             N/A
12. Pension or retirement income                                                                         $             0.00       $             N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $             N/A
                                                                                                         $             0.00       $             N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $        8,381.00        $             N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $      20,456.66         $             N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                         $             20,456.66
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)
 In re    Mary D Slaey                                                                       Case No.     13-10541
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                  3,591.69
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                    222.50
                   b. Water and sewer                                                                       $                     30.50
                   c. Telephone                                                                             $                    362.43
                   d. Other Gas                                                                             $                    249.00
3. Home maintenance (repairs and upkeep)                                                                    $                    173.00
4. Food                                                                                                     $                    300.00
5. Clothing                                                                                                 $                      0.00
6. Laundry and dry cleaning                                                                                 $                     22.00
7. Medical and dental expenses                                                                              $                     34.00
8. Transportation (not including car payments)                                                              $                    380.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                      0.00
10. Charitable contributions                                                                                $                    100.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    228.00
                   b. Life                                                                                  $                      0.00
                   c. Health                                                                                $                    180.00
                   d. Auto                                                                                  $                    120.00
                   e. Other Other                                                                           $                    202.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Taxes                                                                            $                  1,424.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                    767.00
                   b. Other Rental Mortgages                                                                $                 11,350.00
                   c. Other                                                                                 $                      0.00
14. Alimony, maintenance, and support paid to others                                                        $                      0.00
15. Payments for support of additional dependents not living at your home                                   $                      0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                    210.00
17. Other HOA Fee                                                                                           $                    666.00
    Other                                                                                                   $                      0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 20,612.12
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 20,456.66
b. Average monthly expenses from Line 18 above                                                              $                 20,612.12
c. Monthly net income (a. minus b.)                                                                         $                   -155.46
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                          United States Bankruptcy Court
                                                                  Eastern District of Virginia
 In re      Mary D Slaey                                                                              Case No.   13-10541
                                                                                   Debtor(s)          Chapter    11




                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
               20      sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date February 27, 2013                                                Signature   /s/ Mary D Slaey
                                                                                   Mary D Slaey
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/12)



                                                          United States Bankruptcy Court
                                                                   Eastern District of Virginia
 In re      Mary D Slaey                                                                                      Case No.       13-10541
                                                                               Debtor(s)                      Chapter        11

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


              1. Income from employment or operation of business

   None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
              business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
              year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
              calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
              report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                             SOURCE
                         $5,541.20                          YTD
                         $164,003.92                        2012
                         $183,075.00                        2011

              2. Income other than from employment or operation of business

   None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
              for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                             SOURCE



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              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
   OF CREDITOR                                                          PAYMENTS                            AMOUNT PAID                   OWING
Bank of Amrica                                                          3 Monthly mortgage                     $9,928.95               $354,755.29
                                                                        payments of $3,309.65
Ocwen                                                                   3 Monthly mortgage                        $9,417.81            $381,359.54
                                                                        payments of $3,139.27
GMAC Mortgage                                                           3 Monthly mortgage                        $7,707.21            $389,975.48
                                                                        payments of $$2,569.07
Wells Fargo Mortgage                                                    3 monthly payments of                     $2,853.81            $136,543.23
                                                                        $951.27
GMAC Mortgage                                                           3 Monthly mortgage                        $4,147.83              $84,875.40
                                                                        payments of $1,382.61
Santadar Consumer                                                       3 Monthly car payments of                 $1,919.00              $12,312.53
                                                                        $$767, $767, and $385

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                     AMOUNT PAID                  OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION
United States of America v. Mary DeNese Slaey, et                      Collection        Pennslyvania District Court                     Pending
al.
Civil Action No. 06-4930


*
    Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                   DISPOSITION
P.H. Harrington v. Slaey                                               Collection        Fairfax                                        Pending

   None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
     BENEFIT PROPERTY WAS SEIZED                                       DATE OF SEIZURE               PROPERTY
United States of America                                               August 2012 through   Rental Payments totalling $37,236.
                                                                       February 2013         Wage payments totalling $15,712.

              5. Repossessions, foreclosures and returns

   None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
              returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
              or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                   PROPERTY

              6. Assignments and receiverships

   None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
              this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

   None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                    PROPERTY

              7. Gifts

   None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
              and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
              aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                      DATE OF GIFT           VALUE OF GIFT

              8. Losses

   None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
              since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                           DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS


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              9. Payments related to debt counseling or bankruptcy

   None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
              concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
              preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                  AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                          OR DESCRIPTION AND VALUE
     OF PAYEE                                                              THAN DEBTOR                                        OF PROPERTY
Tyler, Bartl, Ramsdell & Counts, PLC                                                                                  $5,000 which includes filing fee
300 N. Washington St.
Suite 202
Alexandria, VA 22314

              10. Other transfers

   None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
              transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
              filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                            AND VALUE RECEIVED

   None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
              trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)              IN PROPERTY

              11. Closed financial accounts

   None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
              otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
              include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
              unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                      AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING

              12. Safe deposit boxes

   None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
              immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
              depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                       DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                       OF CONTENTS                    SURRENDER, IF ANY

              13. Setoffs

   None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
              commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                   AMOUNT OF SETOFF


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              14. Property held for another person

   None       List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

              15. Prior address of debtor

   None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
              occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
              address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY

              16. Spouses and Former Spouses

   None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
              Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
              commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
              the community property state.

NAME

              17. Environmental Information.

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
              or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
              to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
              liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
              known, the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
              Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                       LAW

   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
              the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
              docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION




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B 7 (12/12)                                                                                                                                                         6

              18 . Nature, location and name of business

   None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
              partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
              immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity
              securities within six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
              years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
              ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
              years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                       BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                             NATURE OF BUSINESS                 ENDING DATES

   None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date February 27, 2013                                                 Signature   /s/ Mary D Slaey
                                                                                   Mary D Slaey
                                                                                   Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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Form B203                                                                                                       2005 USBC, Eastern District of Virginia
                                                          United States Bankruptcy Court
                                                                  Eastern District of Virginia
 In re      Mary D Slaey                                                                                  Case No.      13-10541
                                                                              Debtor(s)                   Chapter       11


                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
      compensation paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
      bankruptcy case is as follows:
            For legal services, I have agreed to accept                                               $                        0.00
            Prior to the filing of this statement I have received                                     $                        0.00
            Balance Due                                                                               $                        0.00

2.    $    0.00     of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor              Other (specify)

4.    The source of compensation to be paid to me is:

                  Debtor              Other (specify)

5.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

           I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
           copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. Other provisions as needed:


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:
        Debtor agrees to compensate counsel at his normal and customary hourly rate for any depositions and/or contested matters,
        including but not limited to relief from stay, adversary proceedings, discharge and dischargeability complaints, or lien avoidance
        actions.




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Form B203 - Continued                                                                                          2005 USBC, Eastern District of Virginia
                                                                         CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     February 27, 2013                                                        /s/ Gregory H. Counts VSB#
     Date                                                                     Gregory H. Counts VSB# 46771
                                                                              Signature of Attorney

                                                                              Tyler, Bartl, Ramsdell & Counts, PLC
                                                                              Name of Law Firm
                                                                              300 N. Washington St.
                                                                              Suite 202
                                                                              Alexandria, VA 22314
                                                                              (703) 549-5000 Fax: (703) 549-5011



                               For use in Chapter 13 Cases where Fees Requested Not in Excess of $3,000
                                              (For all Cases Filed on or after 10/17/2005)
                                        NOTICE TO DEBTOR(S) AND STANDING TRUSTEE
                                        PURSUANT TO INTERIM PROCEDURE 2016-1(C)(7)

           Notice is hereby given that pursuant to Local Bankruptcy Rule 2016-1(C)(7)(a), you have ten (10) business days from the meeting of
creditors in this case in which to file an objection with the court to the fees requested in this disclosure of compensation opposing said fees in their
entirety, or in a specific amount.


                                                                       PROOF OF SERVICE
          The undersigned hereby certifies that on this date the foregoing Notice was served upon the debtor(s), the standing Chapter 13 Trustee,
and U. S. Trustee pursuant to Interim Procedure 2016-1(C)(7)(a) and Local Bankruptcy Rule 2002-1(D)(1)(f), by first-class mail or electronically.



     Date
                                                                                    Signature of Attorney




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B22B (Official Form 22B) (Chapter 11) (12/10)
In re      Mary D Slaey
                                    Debtor(s)
Case Number:          13-10541
                                      (If known)


                             CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                      Part I. CALCULATION OF CURRENT MONTHLY INCOME
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1      a.      Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
            b.      Married, not filing jointly. Complete only column A ("Debtor's Income") for Lines 2-10.
            c.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
            All figures must reflect average monthly income received from all sources, derived during the six Column A       Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's       Spouse's
            six-month total by six, and enter the result on the appropriate line.                              Income         Income

     2      Gross wages, salary, tips, bonuses, overtime, commissions.                                           $       22,755.00 $
            Net income from the operation of a business, profession, or farm. Subtract Line b from Line a
            and enter the difference in the appropriate column(s) of Line 3. If more than one business
            profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
            number less than zero.
     3
                                                                       Debtor                 Spouse
             a.    Gross receipts                               $                0.00 $
             b.    Ordinary and necessary business expenses $                    0.00 $
             c.    Business income                              Subtract Line b from Line a                  $                 0.00 $
            Net Rental and other real property income. Subtract Line b from Line a and enter the
            difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
     4                                                                 Debtor                 Spouse
             a.    Gross receipts                               $               0.00 $
             b.    Ordinary and necessary operating expenses $                  0.00 $
             c.    Rent and other real property income          Subtract Line b from Line a                      $             0.00 $
     5      Interest, dividends, and royalties.                                                                  $             0.00 $
     6      Pension and retirement income.                                                                       $             0.00 $
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
            debtor's spouse if Column B is completed. Each regular payment should be reported in only one
            column; if a payment is listed in Column A, do not report that payment in Column B.            $                   0.00 $
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $             0.00 Spouse $                       $             0.00 $
            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Total and enter on Line 9. Do not include alimony or separate maintenance
            payments paid by your spouse if Column B is completed, but include all other payments of
            alimony or separate maintenance. Do not include any benefits received under the Social
     9      Security Act or payments received as a victim of a war crime, crime against humanity, or as a
            victim of international or domestic terrorism.
                                                                        Debtor               Spouse
             a.                                                  $                     $
             b.                                                  $                     $                    $                  0.00 $



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B22B (Official Form 22B) (Chapter 11) (12/10)                                                                                                     2

    10      Subtotal of current monthly income. Add lines 2 thru 9 in Column A, and, if Column B is
            completed, add Lines 2 thru 9 in Column B. Enter the total(s).                                          $      22,755.00 $
            Total current monthly income. If Column B has been completed, add Line 10, Column A to
    11      Line 10, Column B, and enter the total. If Column B has not been completed, enter the amount
            from Line 10, Column A.                                                                                 $                          22,755.00

                                                                       Part II. VERIFICATION
            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
            must sign.)
    12                    Date: February 27, 2013                                      Signature: /s/ Mary D Slaey
                                                                                                     Mary D Slaey
                                                                                                                (Debtor)




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